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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

                                CASE NO. 5:18-cv-402-Oc-30PRL

   CASEY E. WALSH,

          Plaintiff,
   vs.

   The CITY OF OCALA, a municipal corporation,
   MAYOR REUBEN GUINN, COUNCIL MEMBERS
   MARY SUE RICH, JAY MUSLEH, MATTHEW
   WARDELL, BRENT MALEVER, JAMES HILTY, and
   CHIEF KENNETH GRAHAM, SHERIFF WILLIAM
   WOODS, DEPUTY CHIEF MICHAEL BALKEN, and
   CAPTAIN LOUIS BIONDI, in their individual capacities alone,

         Defendants.
   ______________________________________________/

                JOINT MOTION OF JOHN M. GREEN, JR., P.A., AND
                  HILYARD, BOGAN & PALMER, P.A., FOR LEAVE
            TO WITHDRAW AS COUNSEL AND TO SUBSTITUTE COUNSEL

          The undersigned, John M. Green, Jr. and Linda L. Winchenbach, on behalf of John M.

   Green, Jr. P.A., and Bruce R. Bogan on behalf of Hilyard, Bogan & Palmer, P.A., pursuant to

   Middle District Local Rule 2.03, hereby move the Court for leave for John M. Green, Jr., Linda

   L. Winchenbach and the law firm of John M. Green, Jr., P.A., to withdraw as counsel of record

   for the Defendant, Sheriff Billy Woods, individually, and for the firm of Hilyard, Bogan &

   Palmer, P.A., to be substituted as counsel of record for this Defendant. Pursuant to Middle

   District Local Rule 2.03, notice of these actions was provided to this Defendant and to

   opposing counsel on July 15, 2019. A copy of that notice is attached as Exhibit 1. This

   Defendant has consented to these actions.




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   Date: July 26, 2019.                         Date: July 26, 2019

   HILYARD, BOGAN & PALMER, P.A.                JOHN M. GREEN, JR., P.A.

   /s/ Bruce R. Bogan                           /s/ John M. Green, Jr.
   Bruce R. Bogan                               John M. Green, Jr.
   Florida Bar No. 599565                       Florida Bar No.: 0107993
   105 E. Robinson Street, Suite 201            125 NE 1st Avenue, Suite 2
   Orlando, Florida 32802                       Ocala, Florida 34470
   Telephone: (407) 425-4251                    Telephone: (352) 732-9252
   Fax: (407) 841-8431                          Fax: (888) 545-7282 – Toll Free
   E-Mail: bbogan@hilyardlawfirm.com            E-Mail: jmgjr@mac.com
   Attorneys for Defendant, Sheriff Billy       Attorneys for Defendant, Sheriff Billy
   Woods, individually                          Woods, individually

                                                /s/ Linda L. Winchenbach
                                                Florida Bar No. 0749249
                                                John M. Green, Jr., P.A.
                                                125 N.E. First Ave., Ste. 2
                                                Ocala, Florida 34470
                                                Tel: (352) 732-9252
                                                Fax: (888) 545-7282 – Toll Free
                                                E-Mail: lwinchenbach@me.com
                                                Attorneys for Defendant, Sheriff Billy
                                                Woods, individually




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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of this Joint Motion of John M.

   Green, Jr., P.A., and Hilyard, Bogan & Palmer, P.A., for Leave to Withdraw as Counsel and

   to Substitute Counsel was served by E-Mail this 26th day of July, 2019, upon: Bobi J. Frank,

   The Law Office of Bobi J. Frank, P.A., 2631 NW 41st Street, Suite A-2, Gainesville, Florida

   32606; Katherine Gudaitis, Lydecker Diaz, 1221 Brickell Avenue, 19th Floor, Miami, Florida

   33131, Stephanie Pidermann, Lydecker Diaz, 1221 Brickell Avenue, 19th Floor, Miami,

   Florida 33131; Margaret Hood Mevers, Lydecker Diaz, 1221 Brickell Avenue, 19th Floor,

   Miami, Florida 33131; Kielan Saborit, Lydecker Diaz, 1221 Brickell Avenue, 19th Floor,

   Miami, Florida 33131; and L. Edward McClellan, McClellan & Batsel, P.A., 2201 SE 30th

   Avenue, Suite 201, PO Box 2530, Ocala, Florida 34478.




                                               ______________________________
                                               JOHN M. GREEN JR.
                                               Florida Bar No. 0107993
                                               John M. Green, Jr., P.A.
                                               125 N.E. First Ave., Ste. 2
                                               Ocala, Florida 34470
                                               Tel: (352) 732-9252
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                                               jmgjr@mac.com
                                               Attorneys for Defendant, Sheriff Billy Woods,
                                               individually




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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION

                                 CASE NO. 5:18-cv-402-Oc-30PRL

   CASEY E. WALSH,

          Plaintiff,
   vs.

   The CITY OF OCALA, a municipal corporation,
   MAYOR REUBEN GUINN, COUNCIL MEMBERS
   MARY SUE RICH, JAY MUSLEH, MATTHEW
   WARDELL, BRENT MALEVER, JAMES HILTY, and
   CHIEF KENNETH GRAHAM, SHERIFF WILLIAM
   WOODS, DEPUTY CHIEF MICHAEL BALKEN, and
   CAPTAIN LOUIS BIONDI, in their individual capacities alone,

         Defendants.
   ______________________________________________/

                 JOHN M. GREEN, JR., P.A.’S NOTICE OF INTENT TO
              WITHDRAW AS COUNSEL AND TO SUBSTITUTE COUNSEL

          The undersigned, John M. Green, Jr. and Linda L. Winchenbach, on behalf of John M.

   Green, Jr. P.A., hereby give notice of the firm’s intent to withdraw as counsel of record for the

   Defendant, Sheriff Billy Woods. Pursuant to Middle District Local Rule 2.03, this notice is

   being provided to the firm’s clients in this matter and to Bobi J. Frank, opposing counsel. It is

   also being provided as a courtesy to Katherine Gudaitis, Stephanie Pidermann, Margaret Hood

   Mevers, Kielan Saborit, Attorneys for Defendants, City of Ocala, Mayor Reuben Guinn and

   all Council Members; and to L. Edward McClellan, Attorney for Defendant, Chief Kenneth

   Graham.



                                    Exhibit 1

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           The firm of Hilyard, Bogan & Palmer, P.A., 105 E. Robinson Street, Suite 201,

   Orlando, Florida 32801, will be substituted as counsel for the Defendant, Sheriff Billy Woods

   in this matter.

           Pursuant to the rule, ten days after service of this notice, the undersigned will apply to

   the Court for an order approving the intended actions.

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of this Notice of Intent to Withdraw

   as Counsel and to Substitute Counsel was served by E-Mail this 15th day of July, 2019, upon:

   Bobi J. Frank, The Law Office of Bobi J. Frank, P.A., 2631 NW 41st Street, Suite A-2,

   Gainesville, Florida 32606; Katherine Gudaitis, Lydecker Diaz, 1221 Brickell Avenue, 19th

   Floor, Miami, Florida 33131, Stephanie Pidermann, Lydecker Diaz, 1221 Brickell Avenue,

   19th Floor, Miami, Florida 33131; Margaret Hood Mevers, Lydecker Diaz, 1221 Brickell

   Avenue, 19th Floor, Miami, Florida 33131; Kielan Saborit, Lydecker Diaz, 1221 Brickell

   Avenue, 19th Floor, Miami, Florida 33131; and L. Edward McClellan, McClellan & Batsel,

   P.A., 2201 SE 30th Avenue, Suite 201, PO Box 2530, Ocala, Florida 34478.


                                                  ______________________________
                                                  JOHN M. GREEN JR.
                                                  Florida Bar No. 0107993
                                                  John M. Green, Jr., P.A.
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                                                  Ocala, Florida 34470
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                                                  Fax: (888) 545-7282 – Toll Free
                                                  jmgjr@mac.com
                                                  Attorneys for Defendant, Sheriff Billy Woods,
                                                  individually




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                                             _____________________________
                                             LINDA L. WINCHENBACH
                                             Florida Bar No. 0749249
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                                             Tel: (352) 732-9252
                                             Fax: (888) 545-7282 – Toll Free
                                             lwinchenbach@me.com
                                             Attorneys for Defendant, Sheriff Billy Woods,
                                             individually

   cc:   Defendant, Sheriff Billy Woods (via E-Mail Only)
         Hilyard, Bogan & Palmer, P.A. (via electronic transmission to
         bbogan@hilyardlawfirm.com)




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